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LYONS, BRANDT, COOK & HIRAMATSU
Attorneys at Law
A Law Corporation

BRADFORD F. K. BLISS 3161-0
1800 Davies Pacific Center
841 Bishop Street
Honolulu, Hawaii 96813
Telephone: (808) 524-7030
Facsimile: (808) 533-3011
E-mail: bbliss@lbchlaw.com

SMITH LAW
P. KYLE SMITH         9533
970 N. Kalaheo Avenue, Suite A301
Kailua, Hawaii 96734
Telephone: (808) 791-9555
Facsimile: (808) 791-9556
E-mail: kyle@smithhawaii.law

TERRANCE M. REVERE 5857
Revere & Associates LLLC
970 N. Kalaheo Avenue, Suite A301
Kailua, Hawaii 96734
Telephone : (808) 791-9550
Facsimile: (808) 791-9551
E-mail: terry@revereandassociates.com

Attorneys for Defendant
CARA BARBER

                               IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF HAWAII

OHANA MILITARY COMMUNITIES, )                     CIVIL NO. 18-00042 KJM
LLC and FOREST CITY RESIDENTIAL )
MANAGEMENT, LLC,                )                 DEFENDANT CARA BARBER’S
                                )                 FIRST AMENDED INITIAL
               Plaintiffs,      )                 DISCLOSURES PURSUANT TO

20411a InitialDisclosures 02
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                                              ) FRCP 26; CERTIFICATE OF
             vs.                              ) SERVICE
                                              )
CARA BARBER,                                  )
                                              )
                   Defendant.                 )
                                              )

              DEFENDANT CARA BARBER’S FIRST AMENDED
              INITIAL DISCLOSURES PURSUANT TO FRCP 26

             Pursuant to Federal Rules of Civil Procedure 26(a)(1), Defendant Cara

Barber (“Barber”), by and through her attorneys, Lyons, Brandt, Cook &

Hiramatsu, Smith Law and Revere and Associates LLLC, hereby submits the

following first amended initial disclosures.

I.           KNOWLEDGEABLE INDIVIDUALS

             Barber preliminarily identifies the following individuals who are

likely to have discoverable information that Barber may use to support her

defenses in this action, unless solely for impeachment:

     1.   Cara Barber                              Defendant; will testify as to
          c/o Lyons, Brandt, Cook & Hiramatsu      liability and damages concerning
          841 Bishop Street, Suite 1800            her defenses to the Plaintiffs’
          Honolulu, HI 96813                       claims and her affirmative
                                                   claims against Plaintiffs.

     2.   Walter Chun, Ph.D., CSP, CHST,           Dr. Chun has personal
          CHSP                                     knowledge of the health and
          1045 Lolena Place                        environmental effects of
          Honolulu, HI 96817                       pesticides and the State of
                                                   Hawaii, Department of Health’s
                                                   handling of complaints regarding
                                                   same.

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   3.   Employees and management of             OMC management and
        Plaintiff Ohana Military                employees are believed to have
        Communities, LLC (“OMC”)                knowledge of OMC’s dust and
                                                pesticide history and remediation
                                                and official policies regarding
                                                same.

   4.   Employees and management of             FCRM management and
        Plaintiff Forest City Residential       employees are believed to have
        Management, Inc. (“FCRM”)               knowledge of OMC’s dust and
                                                pesticide history and remediation
                                                and official policies regarding
                                                same.

   5.   Dennis Poma, President                  Mr. Poma is believed to have
        Advanced Compliance Solutions, Inc.     knowledge of environmental
        94-515 Ukee Street, Unit 301            matters at the Marine Corps
        Waipahu, HI 96797                       Base Hawaii housing
        Tel: (808) 369-7116                     development, including but not
                                                limited to construction practices,
                                                construction monitoring,
                                                pesticide mitigation measures,
                                                soil management practices and
                                                procedures, soil sampling and
                                                testing, environmental
                                                documentation and
                                                communications with the Hawaii
                                                Department of Health and the
                                                military.

   6.   Julie A. Rogers, Biologist              Ms. Rogers is believed to have
        Environmental Science International     knowledge of environmental
        354 Uluniu Street, Suite 304            matters at the Marine Corps
        Kailua, HI 96734                        Base Hawaii housing
        Tel: (808) 262-0740                     development, including but not
                                                limited to construction practices,
                                                pesticide mitigation measures,
                                                soil management practices and
                                                procedures, soil sampling and

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                                                testing, environmental
                                                documentation and
                                                communications with the Hawaii
                                                Department of Health and the
                                                military.

   7.   Eric Sadoyama, Remedial Project         Mr. Sadoyama is believed to
        Manager                                 have knowledge of
        Hawaii State Department of Health       environmental procedures,
        919 Ala Moana Blvd., Room 206           assessments and plans, as well as
        Honolulu, HI 96813                      requests to the Hawaii State
        Tel: (808) 586-0955                     Department of Health’s for
                                                approval of the pesticide soil
                                                management plan.

   8.   Randall C. Whattoff                     Mr. Whattoff is believed to have
        800 Bethel Street, Suite 600            knowledge of Plaintiffs’
        Honolulu, HI 96813                      settlement of the prior civil
                                                action, the negotiations that
                                                preceded settlement of the prior
                                                civil action, Plaintiffs’ improper
                                                attempt to restrict the attorneys
                                                representing Barber from
                                                representing other military
                                                families in pursuing claims
                                                related to pesticide contaminated
                                                soils at Marine Corps Base
                                                Hawaii, Plaintiffs’ breach of the
                                                settlement agreement, Plaintiffs’
                                                motion for preliminary
                                                injunctive relief, Plaintiffs’ intent
                                                and strategy to intimidate, harass
                                                and extort Barber into silence,
                                                and other issues related to
                                                liability and damages.

   9.   Other persons identified in documents
        produced in discovery.

           Barber reserves the right to name and call at trial additional witnesses

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identified during the course of discovery, expert witnesses, rebuttal witnesses, and

all witnesses named by Plaintiffs.

II.          DOCUMENTS WHICH MAY BE USED TO SUPPORT BARBER’S
             CLAIMS OR DEFENSES

             Pursuant to Rule 26(a)(1)(B) of the Federal Rules of Civil Procedure,

Barber discloses and describes the following categories of documents,

electronically stored information and tangible things (collectively “documents”)

that are in her possession, custody or control and that she may use to support her

claims or defenses, except for those categories relating solely to impeachment.

 1.   Communications between counsel, and between counsel and the court,
      relating to settlement of Civil No. 14-00217 HG-KSC

 2.   Settlement Agreement and Release, prepared in connection with settlement
      of Civil No. 14-00217 HG-KSC

 3.   Documents obtained through FOIA requests to the Marine Corps and Navy

 4.   Documents obtained through requests to access government records made to
      the State of Hawaii

 5.   Documents referenced in the Complaint and Counterclaim filed herein

 6.   Communications between Plaintiffs and residents relating to the residences
      in Marine Corps housing

 7.   Communications between Plaintiffs and third party environmental
      consultants relating to the development of Marine Corps housing

 8.   Communications between Plaintiffs and third party construction contractors
      relating to the development of Marine Corps housing

 9.   Communications between Plaintiffs and the Hawai'i Department of Health

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       relating to the development of Marine Corps housing

10.    Documents relating to environmental plans or reports composed by third
       parties, including but not limited to Pesticide Soils Management Plans and
       Environmental Site Assessments

11.    Forest City Residential Community Handbook

12.    Documents relating to the construction and development of the residences at
       Marine Corp Base Hawai'i

13.    Exhibits entered in evidence, or marked for identification, in connection
       with the post-settlement motion for preliminary injunction filed by Plaintiffs
       in Civil No. 14-00217 HG-KSC

             Barber reserves the right to supplement her disclosures as required by

the Federal Rules of Civil Procedure.

III.         DAMAGES

             Barber will seek to recover general, special, treble and punitive

damages related to Plaintiffs’ breach of the settlement agreement, negligent and

intentional infliction of emotional distress, and other affirmative claims asserted in

her counterclaim. Barber will also seek recovery of her fees and costs incurred in

this action. Discovery is ongoing and the calculation of damages will be

supplemented as additional information is available.

IV.          INSURANCE

             Barber will make available for inspection and copying as required

under Fed. R. Civ. P. Rule 34 any insurance agreement under which an insurance

business may be liable to satisfy all or part of a possible judgment in the instant

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action or to indemnify or reimburse for payments made to satisfy the judgment.

            DATED: Honolulu, Hawaii, August 29, 2018.

                                            /s/ Bradford F. K. Bliss
                                            BRADFORD F.K. BLISS
                                            Attorney for Defendant
                                            CARA BARBER




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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

OHANA MILITARY COMMUNITIES, ) CIVIL NO. 18-00042 KJM
LLC and FOREST CITY RESIDENTIAL )
MANAGEMENT, LLC,                ) CERTIFICATE OF SERVICE
                                )
               Plaintiffs,      )
                                )
          vs.                   )
                                )
CARA BARBER,                    )
                                )
               Defendant.       )
                                )

                           CERTIFICATE OF SERVICE

              I hereby certify that on August 29, 2018 and by the methods of service

noted below, a true and correct copy of the foregoing was duly served on the

following at their last known addresses:

 Served Electronically through CM/ECF:               E-mail address

 P. KYLE SMITH, ESQ.                                 kyle@smithhawaii.law
 970 N. Kalaheo Avenue, #A301
 Kailua, Hawaii 96734

      and

 TERRANCE M. REVERE, ESQ.                            terry@revereandassociates.com
 Pali Palms Plaza
 970 N. Kalaheo Avenue, #A301
 Kailua, Hawaii 96734
       Attorneys for Defendant
 Served Electronically through CM/ECF:               E-mail address


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JOACHIM P. COX, ESQ.                           jcox@cfhawaii.com
RANDALL C. WHATOFF, ESQ.                       rwhatoff@cfhawaii.com
KAMALA S. HAAKE, ESQ.                          khaake@cfhawaii.com
Cox & Fricke, LLLP
800 Bethel Street, Suite 600
Honolulu, Hawaii 96813
     Attorneys for Plaintiffs
     OHANA MILITARY COMMUNITIES,
     LLC and FOREST CITY RESIDENTIAL
     MANAGEMENT, LLC

           DATED: Honolulu, Hawaii, August 29, 2018.

                                         /s/ Bradford F. K. Bliss
                                         BRADFORD F. K. BLISS
                                         Attorney for Defendant
                                         CARA BARBER




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